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                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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10    ANTHONY M. WATSON,                          Case No. CV 19-6737-AB (KK)
11                             Plaintiff,
12                        v.                      ORDER ACCEPTING FINDINGS
                                                  AND RECOMMENDATION OF
13    DR. LAURA SPRAGUE, ET AL.,                  UNITED STATES MAGISTRATE
                                                  JUDGE
14                             Defendant(s).
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17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Second Amended
18   Complaint, the relevant records on file, and the Report and Recommendation of the
19   United States Magistrate Judge. No objections have been filed. The Court accepts
20   the findings and recommendation of the Magistrate Judge.
21         IT IS THEREFORE ORDERED that Judgment be entered dismissing this
22   action with prejudice and without leave to amend.
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24   Dated: October 15, 2020
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                                            HONORABLE ANDRÉ BIROTTE, JR.
26                                          United States District Judge
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